Case 2:17-CV-02412-WB Document 1 Filed 05/18/17 Page 1 01 19

JS 44 (Rev. 08!16)

ctvIL COVER SHEET

’l`hc JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filin r and service ot`pieadings or other papers us required by |aw, except us
provided by local rules of court. This form. approved by the Judiciui C()ttf`ert:nce 01'11\€ Unitcd States in cptembet' 1‘)74. is required for the use 01` lite Cict'|< oi`Court for the
purpose of initiating the civil docket slieet. ($l-]I;` /i\/.S"I`RL/Cf/()i\/'S UN .\Il~,`,\"l`l’,t(ih' ()/~` 7`///.$`/"0/€11/.)

 

l. a
|V(Y

Keaveney Lega| Group, LLC.; 1101 N Kings Hwy, Suite G100, Cherry

PLAINTIFFS

(b) County ofResidence of First List<:d Plnintiff v MOnigg[tj§rwa"rwm_ W_

)C. KUIV||, JOSEPH M. KUMl

([;`.\'CEPT /.V L"`.S. l’[.,'il.VT/FF (,'ASESI

(C) A110rncy$ ( F irm lVame, .4tld1'¢'.r.r, um/ Tt'[r'/)hmw ,'Vuml)er)

Hiii, NJ 08034

DEFENDAN'I`S
NAT|ONSTAR MORTGAGE LLC.‘ VER|PRO SOLUT|ONS lNC., and
SHELLPO|NT MORTGAGE SERV|C|NG

County of`Residence oi`First Listed Det`endztnt _ _ _4'
{[t\tv (/'..5`. PLAI:V`/`/FF C.-1$l;`5` ().'\"I.Y)

l.\' LANl) (`()Nl)iiMN/\TlON CASF.S, USE Tiil"'. 1.()C`A'l`1(1.\` ()F
71`1“11£ 'i`R,‘\C'l` 1")1"` LAND lNVOl.Vi"`,i').

;\`()TE:

Aii()l`l'l€y$ (/f/\'rm\\')ll

 

 

ll. BAS!S OF JURISD|CTION ll’lc{$'r'zm ".\'“t`ri O)i€ Box Om'_\'l

.‘

l`l

1 U.S. lit)vcmnient
plaintiff

2 U.S. (.`iuvcrnmcnt
l)cfendant

x 3 r`eticdti Qucstion
(Lf'_.\`. (,'r)\'vrm)tt'nl _\"m a /’¢1)‘(1'1
13 4 |)t\'cr>‘.ity

(lm/icu/c C.`itizen_rhip of Parl/cs in item [ll)

 

lV. NATURE OF SUlT(/’l:tc<»tr)i ".\"`in ()nr an 0"1"\'/`

l". ClTIZENSH“) QF PRINCIPAL PART[ES (/‘/act' cm ".\"` in ()ne B<).rfw' P/Ltinn:[]'

‘ (F/)r DI\'r-rsir'\‘ Cast".\' (.)nlyl um/ ()m' B().x'j))r quénd<lm)

l"l`l" l) E F i’T F l) I". i"
Citi/_\:n ot`Thiy. Stz\tc .`l 1 ij 1 lncnrpur;itcd ¢/r 1’rincipz11 i‘1ztce 3 4 3 4
. -* ot` Husiness in ‘1`111.~‘ Sttttc
Cttizcn ofAnothcr Stutc 3 2 13 2 lnet)rpornted mzdl’rincipal 1’iacc 13 5 fl 5
ofBusincss in Antilher Statc
Citizcn or Subject ofzt J 3 13 3 Forcign t\'ation 13 6 D 6

i~'orcizn Countrv

Click here for: Natttr: oi`Stui C`:>tie 1,)escr£;)tton.~.

 

 

 

 

 

 

 

 

 

 

 

 

 

i C()NTRACT T() RTS F()RFE|TURF./PF.NAL'{‘Y BANKRUPTCY ()'1'1{ER S`[`ATUTES i
.`| 110 insurance i’ERS().\`.~\L IN.IURY PERSO.\'AL l\. 'RY ~’1 625 l)rug Rciatcd St:i¢urc "1 422 /\ppczti 23 US(,` 15>\` "l .`\75 Faisc Cl.'iimsi~\ct
j 120 M;\rine 3 3|0 )\irpl:inc j 365 l’crsonzi1 injury 4 of Propcrty 21 USC 881 ij 423 Withdr;xwal 11 _`\7() qu 'i'ztm 131 USC
3 130 Milier Act 3 .`\15 /\irpl;tne Prutluct i’mduct liability 3 690 Other 28 l.'SC 157 372‘)(2\))
3 140 .\'cgt)tittbie instrument liability 3 367 Hcalth C;tre/ 3 400 St:\te Rl::ipportionmcnt
n 150 Rceo\'cry ol`Ox'crpaymcm j 330,\$3;:\111. Libcl & Pharmnccutit;;xl PROPERTY RIGHTS 7 410 Antitru$f
& Enl`orcctncnt oi`Judgment Siander Personal Injury Cl 820 Copyrights 3 430 Banks and Banking
0 151 Mcdicarc Act 3 3301~’cdct:tl Eniploycrs` l’roduct L.iubi1ity F] 8301’atcnt 7 450 Cummercc
"l 152 Recovcry of Dut`:tuitcd l.i:tbilily 1‘| 368 Asbestt)s Perstm;x| 1`| 840 ’i`rztdcmark 1'1 460 l)cportation
Studcnt Lnans Cl 340 Mzu'inc injury l'rt)duet 1'1 470 Ruckctcer influenced and
(l~fxc|udes Vctt:r:ms) 13 345 Marinc 1‘rnt1uet Liztbility LAB()R §Q$;!AL SI_'§S;UR!'|`Y ' Ct)rrupt ()r;;;tnizatinns
17 153 Rcct)vcry \)(()\'crpaymcnt liability 1’1‘1RS()NA[. 1'|{()1’1",|{'1`\' '1 710 Fair labor Stzmdards 1`| 861 lll/\ (13951`1`1 |'1 480 Ct)usumcr (.ircdtt
01` Vetcrttn`s Bencfits 13 350 Mt)lt)r \’ehtcic ij 370 Othcr ifrautl Act 3 802 Bittck Lung (‘)23) 11 ~1‘)0(,`:11)1\:;'$:,\1 1"\/
C\ 1()0 S\ockht)\dcrs' Suits 13 355 M<)tnr Vchiclc _ 371 Trutit in l.endiug 720 Labor."Manag_',ctucnt 3 863 i)lWC/DIWW 1405(;.1)) L_J 1150 Secttritics;(,`ommt)ditic.\`/
3 190 Othcr Contrzict 1’rt)duct liability 3 380 ()thc.' i’crsonzti Relations 3 864 SSID 7|`iti<: X\"i l:`xch:tngc
.".1 195 Ct)ntruct i’roduet Liabiitty `1 360 ()titcr 1‘crsomti Pmpct'ty i.)amztge i“l 740 Railwuy Laber Act j 865 RSl (405(§)) "| 890 Othcr Sl'dtutor_v _Ac:ions
3 196 me:hisc injury 3 385 Propcrty i)amttgc ij 751 Famiiy and Mcdicui 11 891 Agriculmrai Acts
3 302 Pcrsonni injury ~ Prodttct inability Lcavc Act 13 393 F.n\»'imnmcntai Mattcrs
Mctliczt| Mnipmcticc , il ?900rhcr i.abor litigation 3 505 Frecdom ol'lnt`<)rmation
l RE~AL PR()PERTY CIVIL RIGU'!`S PRIS()NF.R FE'|`{T[()NS ij 791 Entploycc Rclit‘t:t\icttt FEDERAL TAX SUlTS :\ct
71 210 L:xnd (,`nndemittniott 13 440 ()thcr Civi| Rig,i\ts Hai)cas Corpus: . income Security Act !`l 870 T:txcs (U.S. 1‘1aintif`1` j 806 Arl)itr;\tit)n
1`] 220 Fnrcciu~‘\.trt: 1'\ 441 Vuting 1.'.1 463 A|icn I)ctztiuec or 1)cfcr\dant) "\ 1109 .'\dti\inistrntivc i’r<icctlurc
ij 230 cht 1.ett§c & iijcctmcn\ 1'1 442 iimploymcnt 13 510 Mnliuns tt) V:tczitc t`.l 871 1RS~'»Third i'arty Aet/Rcvicw ur /\ppen| til`
1`1 240 Tt)rts to l.,ztnd 1`.| 443 lluusing/ Senteucc 26 USC 7609 Ageucy 1)ecisi0n
1°1 245 vl`ort Prtitlucl Liztbility !\ccnuirt\odzilions 1'1 530 Gcnt:rui "| 950 (_`onstitutionaiity uf
ij 290 /\11 Otlter Rcal Property Cl 445 Aincr. \v/'l,)isabilitics » 13 535 Dcz\tlt Pcnaity IMM[GR'AT[ON Statc Statutcs
limpinyment ()thcr: l'1 462 Naturalization Appiicntton
-\ 446 Antcr. w,"'Disabilitics ~ 11 540 Mandamus & Othcr f'| 465 Othcr lmmigmtion
(`)thcr 3 550 Civii Rights .»\ctions
3 448 l~`.tlue:ninn 3 555 l’rison ('.`t)ndttinn
-:| 560Civi1 ljetttince ~

 

 

Cnnditions tit`
Coui'tttement

 

 

 

 

V. ORlGlN (P[ace an "."'\ in One Bu.t‘ ()nl_y)

bit

Origina\v
Proceeding

Cl 2 Removed front
Statc Court

133

Rctnanded i`t't)m
Appciiate Court

134

Reinstated or ij 5 '1`mnsferrcdfr0m C| 6 i‘viultidistrict fl 8 Multidistrict
Reopened Ano;her Djs;ric[ Litigation - Li_tigatio_n ~
(s/;ecz_‘[v) 'l`ransfer Dtrect F tie

 

Vl. CAUSE ()F ACTION

Ci!e lite U.S. Civii Sl€lluf€ under Which you arc filing (Do nor ci!ejuris¢liclilmal slalul¢',\' un/L's.\‘ diversily

)2
24 C.F.R. § 3500; 12 CFR Pan 1024 et seq. and 12 USC Section 2605. 15 U.S.C.A. § 1601 et. Seq.

 

 

Btit:l" description of cause: ‘ 1
Common Law Fraud, Decepttve Practices

 

V11. REQUESTED lN

COMPLAINT:

71

CHF.CK ll~` '1`HIS lS /\ Cl,ASS .1\(§'[`1().`\`

UNDER RULE 23, F.R.Cv.i’.

vttt. RELATED CASE(s)

lF ANY

(S¢.'e in.rlru¢‘liori,\‘):

DF.MA.\"D 5 CHECK YES only if`dctnztndcd in compiztint:

JURY DEMA.\'i): yTl Y@s Y_(t\'o

 

 

JUDGE DOCKET §u)MBER _ _
Dl\'i`l‘: SiGNATURE QF A'i'i`()RNF,Y (_)F RF,CORD '»_ n _'_7; \"`4 ‘T)
04/13/2017 /s/ Thomas Masciocchi ¢-" / (C.)L--.»~<~; '6"”’°""~ ~ . ‘

 

F()R ()1"1"1CE USE ONLY

RF,(,`[€|I"I` )$

AM()UNT

Al’i’l.Yi:\’G li'l'

/.<"` ` '

1U1)(iii

MAG. JUi)(il€

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 2 of 19

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

1VY C_ KUM[, JOSEPH M. KUM[

CIViL ACTlON
v.
NArtoNsrAR MoRrGAGE LLC. . -
vERtPRo soLUTIONs INC., and ; NO.

SHELLPO[NT MORTGAGE SERVICiNG

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in ali civil cases at the time of
filing the complaint and serve a copy on all defendants (Sce § 1103 of the plan set forth on the reverse
side of this form.) ln the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shail, with its first appearancc, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management 'I`rack Designation Form specifying the track
to which that defendant believes the case should be assigned

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security - Cases requesting review of a decision of the Secretary of Heaith
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration » Cases required to be designated for arbitration under Local Civii Ruie 53.2. ( )

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(c) Special Management ~ Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by

the court. (Sce reverse side of this form for a detailed explanation of special
management cases.) ( )

(f) Standard Management - Cases that do not fall into any one of the other tracks. (3¢!

`W£lj 3&:, =9'0 17 /W¢@..q,q.s /~/,4_5<,/¢¢¢ £,, /0/:4,.~¢.‘¢//£

 

 

 

Date"/ Attorney-at-law Attorney for

gao _3/9_ 0?3'9 Y§G.X‘S/- 7//,9' 7’/“‘/£$(/0€¢(¢/@/€/€40€.0€&7 (€f'¢j
_ G'/ccv/. cna/1
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02

 

Case 2:17-cV-024J[i`-1WED §)IQXHEEBIS]TR§(L/lgdc%£$dllz§/U Page 3 of 19

FOR THE EASTERN DISTRICT OF PENNSYLVAN[A _ DESIGNATI()N FORM to be used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

Addressort>iaimifr; 22 /0 /~{A,@C£ .4 \/€ z , M/&‘/UCC'TEL )9/1 /40 75!

 

 

Address of Defendant: 5 ge a Hac (( e d
Place of Accident, Incident or Transaction: w ii /O C(_‘) T 5 /14
0 (Use Reverse Side For Addilional Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock‘.’

 

(Attach two copies of the Disclosure Statement Forrn in accordance with Fed.R.Civ.P. 7.1(a)) Yesi:] NOE§'
Does this case involve multidistrict litigation possibilities? YesEl Nr§’
RELA TED CASE. IF ANY:

Case Number: Judge Date Terminated:

 

 

Civil cases are deemed related when yes is answered to any of the following questions:

l. IS this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court.
Yesl:] NoK

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

Yesi:i No[K`
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or \m`thin one year previously
terminated action in this court2 Yes[l NolK

4. is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

Yes i:i NOK

 

CIVlL: (Place \/ 111 ONE CATEGORY ONLY)
A Federal Question Cases: B. Diversity Jurisdiction Cases:

. 51 indemnity Contract, Marine Contract, and All Other Contracts 1. 121 insurance Contract and Other Contracts

,_.

, 111 FELA Airplane Personal injury

. El Jones Act~Personal Injury Assault, Defamation

. 121 Antitrust Marine Personal injury

. 121 Patent Motor Vehicle Personal injury

_ 121 Labor-Management Relations Other Personal Injury (Please specify)

. E1 Civil Rights Products Liability

121 Habcas Corpus Products Liability _ Asbestos

@z>°<<>s».t>z-
l]i]l]i:|\:|i]l;lE

\OOO\|O\L/\&WN

. D Securitics Act(s) Cases All other Diversity Cases

10. 121 Social Security Review Cases (Please specify)

 

l 1.¢§’ All other Federal Question Cases
(Please specify) T'I: LA CU#(d RSS {JA

ARB[TRATION CERTIFICATION
_ , ,, (Check Appropriate Category)
i, //1’] 0 m§ Mc$ C./a c (,C Lt ¢' , counsel ofrecord do hereby certify:
<Er~ Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
121 Relief other than monetary damages is sought

DATE:M/qj ¢RCe, 3017 '/,MQ L{:§ 7>°“§'
d Attomey-at-Law Attorney I.D.#
NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

l certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.

DATE:MA; o'(§¢ 3617 %(éiv, "’/3`7§$
Attomey-at-Law Attorney I.D.#
CIV, 609 (5/2012)

 

 

Case 2:17-CV-02412-WB Document 1 Filed 05/18/17 Page 4 of 19

§

UNITE:) srArEs nrs'rnrcr Coun:r F"_ED
instch or PENNSYLVANIA
MAY l B 2017

KATE BARKMAN,C|NI€
.Cl&tk

 

 

lVY C. KUMI, JOSEPH M. KUl\/il

) 13? §§12

Plaintiffs, )
) Case No.
V )

) CiVIL ACTION COMPLAI_NT

NA'[`IONS'l`AR MORTGAGE LLC. ,
VERIPRO SOLUTIONS iNC., and
SHELLPO[NT MORTGAGE SERVICING

Det`endants.

 

Plaintif‘fs sue Defendants and by Complaint state:
1. Parties and Juria_;diction

A. Plaintit`fs are of majority age residing at 210 Maple Ave., Wyncote, PA 19095,
(hereat`ter the “Proper'ty”).

B. Defendant Nationstar |\/iortgage is and was, at all material times hereto, a foreign
corporation whose corporate domicile and alleged authority to do business in the
State of New Jersey is unknown, but with its principle place of business located at
8950 Lypress Walters Blvd., Coppel, 'l`X 75019.

C. Defendant Veripro Solutions inc. is and was, at all material times hereto, a foreign
corporation whose corporate domicile and alleged authority to do business in the
State of New Jersey is unknown, but with its principle place of business located at

?50 Highway 121 BYP, Suitc 100, Lewisviile, TX 75067.

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 5 of 19

D. Defendant Shellpoint Mortgagc Servicing. is and was, at all material times hereto, a
foreign corporation whose corporate domicile and alleged authority to do business in
the State of New Jersey is unknown, but with its principle place of business located
at 25 Beattic Pl #300, Greenville, SC 2960.

E. Jurisdiction is based on 28 U.S. Code § 1332(a). The amount in controversy is in
excess of $?5000.00;

F. Jurisdiction is also based on 28 U.S. Code § 1331 as the issue in controversy arising
under the Constitution, laws, or treaties of the United States, specifically: 12 USC
Section 2601 et seq. including Regulation Z, which is found at 24 C.F.R. § 3500, as
well as: 12 CFR Part 1024 et seq. and 12 USC Section 2605, 15 U.S.C.A. § 1601 et.

Seq., and 18 U.S. Code § 1343, and the FDCPRA, 15 U.S.C. § 16011 et. seq.

1. Background Materia| F acts

A. On or about December 19, 20061 the Plaintiffs executed and delivered a
notefmortgage upon thc Property to Mortgage Electronic Registration System Inc.,
allegedly as nominee for Countrywide iiomes inc;

B. lt is alleged that the aforesaid notcr'mortgage was assigned by Mortgage Electronic
Registration System lnc., as nominee for Countrywide Hornes lnc; to Defendant
Nationstar Mortgage.

C. At all times relevant and material hereto, the Defendants and all of them,
individually and/or jointly were responsible for the serving of the subject
noter'mortgage identified hcrein, and therefore individually, jointly andfor scverably

liable for all of thc acts of misconduct as set forth in this Complaint.

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 6 of 19

Alternatively Del`endants are liable as successors in interest ofthe claims made by
the Plaintiffs in this Complaint

On or about July 14"', 2014, Defendant Nationstar Mortgage filed a Foreclosure
Complaint against the Plaintil`fs in the Court of Common Pleas, Montgomery
Countyr Case No. 2014-20634, amended October 30, 2015.

in said Complaint filed by Defendant Nationstar Mortgage, it was alleged that the
Plaintiffs defaulted on his note/mortgage on November 1, 20 | 3.

Prior to and in the course of said litigation, the Plaintiffs made numerous attempts to
demonstrate to the Defendants that they were not in default as alleged but to the
contrary had been continuously making all payments as required under the debt
instrument that had subsequently modified by agreement

The Plaintiffs were offered and accepted a Trial Moditication by Nationstar on July
3, 2014, which called for the first payment to be made 03!01!2014 and 2 months
thereafter for $2'?'23.5?` - with a permanent modification promised

in accordance with the Terms of this Tria| Modification, Plaintiffs made the

following payments:

Month|y Payment Date Check Payment Postmarked by
Due Dates Priority Mai| Express

#1. lst payment for Aug. 2014: due by Check No. 0000249518 in sum of
8/1/2014 $2,723.57 postmarked 07/25/2014.
#2. 2nd payment for Sept. 2014: due by Check No. 0000251536 in sum of
9/1/2014 $2,723.57 postmarked 08/27/2014.
#3. 3rd payment for Oct. 2014: due by Check No. 0000253484 in sum of
10/1/2014 $2,723.57 postmarked 09/29/2014.

Said payments were acknowledged as having been received by the Defendants.

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 7 of 19

K. In violation of the Terms of the Trial Moditication the Defendants refused to accept
said payments and returned all of the above payments based solely of the following
reason: “check returned by lender to Keaveney Legal Group. Reason for returning
check: lender requiring $32,6’1'4.17 to bring afc up to date."

L. The return of the Trial Payments along with the aforesaid reason was a direct
contradiction and breach of the Terms of the Trial Moditication.

M. The Plaintiffs then proceeded to serve Notices of Error seeking detailed explanations
for the return of the above payments and non-honoring of the r[`rial Moditication
Plan_, to which the Defendants responded in different contradictory manners:

On 111141'2014, in response to a Plaintiffs’ Notice ofError, Defendant answered by
saying “According to our records, the first trial payment was received on J`uly 28,
2014.. .When we received the September l, 2014 trial payment, it had been cancelled
by the Phi|adeiphia Credit Union due to insufficient funds. Based on this
information it was never applied to the account which caused a default in thc
program...We did subsequently receive payments following that, but at that time the
trial payment plan had already been cancelled.”

On 01!061'2015 in response to another Plaintiffs’ Notice of Error, Defcndant
answered by saying “they admit to the offer of the TPP ('l`rial Period Plan), but go on
to say: “However our records show that no trial payments were received and the
account was denied as offer not accepted by your clients.”

N. Numerous follow-up attempts Were made by the Plaintil`fs to rectify this situation
and implement the rl`rial Modification Plan, all of which were ignored andr’or refused
by the Defendants.

O. Desperatc and frantic, the Plaintiffs sought the help of Senator Bob Casey, whose
office sent an inquiry to the Dcfendants seeking an explanation as to their conduct

P. On December 8, 2015 the Defendants wrote back to Scnator Casey wherein they

acknowledged the offering of a Standard Modification 'l`rial Period Plan. But they

never raise the issue of a NSF check or that the clients were kicked out of the TPP.

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 8 of 19

In fact they go on to state: “...the Standard TPP was denied in error. We are
currently working on it.”

. Despite the continuing attempts of the Plaintiffs to rectify this situation, they have
either been ignored, given false promises of rectification, and supplied contradictory
and blatantly untrue explanations

. At all times relevant and material hereto the Defendants had no intention of
honoring the Trial Modiiication agreement and instead commenced the filing of a
Statc Court action in Forec|osurc on July 14, 2014, after the date that the parties had
entered into the Trial Moditication agreement - all of which is in violation of the
Truth-in-Lending Act, Real Estate Settlement and Proccdures Act, Covenants of
Good Faith and Fair Dcaling and other applicable statutory and common laws.

. ln addition to the negligence, carelessness and intentional misrepresentation and
concealment, all Defendants failed to properly service said notefmortgage
specilically, but not by way of limitation in the following particulars:

i. By Failing to Provide Periodic billing statements (2013 TlLA Servicing
Final Rule).
ii. By Failing to Provide General servicing policies, procedurcs, and
requirements (2013 RESPA Servicing Final Rule)
iii. By Failing to Provide Early intervention with alleged delinquent
borrowers (2013 RESPA Servicing Final Rule).
iv. By Failing to Provide Continuity of contact with delinquent borrowers

(2013 RESPA Servicing Final Ruie)_

[\.}

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 9 of 19

T. As a direct and proximate result of the conduct of all Defendants’ conduct as
hereinbefore and herein after set forth, the Plaintiffs did suffer severe and permanent
financial and emotional damages and losses.

Q(EM
Common .Law Fraud, l)eceptive Practices

Plaintiffs hereby incorporate by reference all preceding paragraphs as if set forth at length
herein

Dcfendants, and all of them, through their agents1 servants and employees, engaged in
unconscionable commercial practices, deception, fraud, false pretense, false promise
andfor misrepresentations with regard to the servicing of the subject loan, specifically
but not by way of limitation:

a. Failed to properly credit the account of the Plaintiff for payments timely
and duly made in accordance with the terms of the debt instrument;

b. Alleging that Plaintiffs were in default andfor otherwise delinquent on his
debt, when at all times any and all alleged delinquency andfor default was
caused by the conduct of the Defendants in failing to properly credit the
account of the Plaintiffs for payments timely and duly made in accordance
with the terms of the debt instrument;

C. Misrepresenting and deceiving the Piaintiffs into believing that all errors
in the crediting of payments made would be immediately adjusted and
corrected, yet failing to take the necessary action to do so;

d. Improperly assessing and charging the Plaintiffs for late fees, interest and

other penalties when at all times the Defendants knew or should and could

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 10 of 19

have known that such charges were inappropriate in light of payments
timely and duly made in accordance with the terms of the debt instrument;
e. Failing to advise the Plaintiffs via monthly statements containing, among
other things, information on payments currently due and previously made,
fees imposed, transaction activity, application of past payments, contact
information for the servicer and housing counselors, and, where
applicable, information regarding correction of contested delinquencies
and charges
f. F ailing to establish or make good faith efforts to establish live contact with

the Plaintiffs by the 36th day of the alleged delinquency and promptly
inform the Plaintiffs, where appropriate, that loss mitigation options may
be available in addition, failing to provide the Plaintiffs a written notice
with information about loss mitigation options by the 451h day of his
alleged delinquency - thereby deceiving the Plaintiffs that their loan Was
current and in good standing;

Alternatively, and or additionally, Defcndants engaged in acts of omission, including but

not limited to knowing concealment, suppression in omissions of material facts in

connection with the subject loan balance

As a direct and proximate result of the aforesaid, the Plaintiffs loan was wrongfully

alleged to be in default and Defendants have wrongfully pursued foreclosure, all of which

has caused the Plaintiffs severe financial. physical and emotional damage and loss.

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 11 of 19

WHEREFORE, the Plaintiffs demand judgment against Defendants for damages,
interests and costs of suit including:

a. Punitive and/or treble damages;

b. Darnages as permitted by statute;

c. Counsel fees;

d. All other relief this Court deems necessary andjust.

QU_NLTM
Violations of the Truth-in-Lending Act and
the Real Estatc Settlement and Procedurcs Act

Plaintiffs hereby incorporate by reference all preceding paragraphs as if set forth at length
herein.
'l`he transactions alleged in Background is a consumer transaction that involved the
Defendants as a creditor lending money to the Plaintifi`.
At all times relevant Defendants were a creditor under the Federal Truth-in~Lending Act
15 U.s.C.A.§ 1601 er seq. ('rrLA);
At all times relevant and material hereto Defendants were required to provide a periodic
statement for each billing cycle containing, among other things, information on payments
currently due and previously made, fees imposed, transaction activity, application of past
payments, contact information for the servicer and housing counselors, and, where
applicable, information regarding delinquencies
Despite this requirement the Defendants failed to provide any statements to the Plaintil`f

thereby deceiving the Plaintiffs that their loan was current and in good standing;

10.

11.

l2.

13.

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 12 of 19

At all times relevant and material hereto Defendants were required to establish or make
good faith efforts to establish live contact with the Plaintiffs by the 36th day of their
alleged delinquency and promptly inform the Plaintiffs, where appropriate, that loss
mitigation options may be available., and to provide the Plaintiffs a written notice with
information about loss mitigation options by the 45th day of their alleged delinquency;
Despite this requirement the Defendants failed to make any such live contact with and
failed to provide any such notice to the Plaintiffs thereby deceiving the Plaintiffs that
their loan was current and in good standing;

At all times relevant and material hereto the Defendants violated the mandates of PART
1024_REAL ESTATE SETTLEMENT PR()CEDURES ACT, specifically, but not
by way of limitation, § 1024.1':' - requiring the maintaining of an accurate escrow account
balance and responding to inquiries from the Plaintiffs.

As a direct and proximate result of the aforesaid, the Plaintiffs` loan was wrongfully
alleged to be in default and Defendants have wrongfully threatened foreclosure, all of

which has caused the Plaintiffs severe financial, physical and emotional damage and loss.

WHEREFORE, the Plaintiffs demand judgment against Defendants for damages,
interests and costs of suit including:

a. Punitive andfor treble damages;

b. Damages as permitted by statute;

c. Counsel fees;

d. Ail other relief this Court deems necessary and just.

14.

15.

16.

17.

18.

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 13 of 19

COUNT THREE

Fair cht Collection Practices Act
Plaintiffs hereby incorporates by reference all preceding paragraphs as if set forth at
length herein.
Defendants have not provided Plaintiffs with accurate periodic statements, an accounting,
payoff and reinstatement or debt verification, and/ or other information as was requested
according to the Fair Debt Collection Practices act, 15 U.S.C. § 1601, et. seq.
At all times relevant and material hereto the Defendants have repetitiver violated 15
U.S.C. § 1692f by collecting an amount from the Plaintiffs that was alleged not to be
expressly authorized by agreement or permitted by law.
At all times relevant and material hereto the Defendants have repetitively violated 15
U.S.C. § 1692g by failing to provide the Plaintiffs with proper validation of debts.
As a direct result of the Defendants’ failure to abide by the Fair cht Collection Practices
Act, the Plaintiffs were deceptively led to believe that their loan was current and in good
standing, andfor that all errors regarding the application of payments received but not
credited would be corrected
As a direct and proximate result of the aforesaid, the Plaintiffs’ loan was wrongfully
alleged to be in default and Defendants have wrongfully threatened foreclosure, all of

which has caused the Plaintiffs severe financial, physical and emotional damage and loss.

WHEREFORE, the Plaintiffs demand judgment against Defendants for damages,

interests and costs of suit including:

20.

Zl.

22.

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 14 of 19

a. Punitive andj or treble damages;
b. Damages as permitted by statute;
e. Counsel fees;

d. All other relief this Court deems necessary andjust.

COUNT FOUR
Violation of Pennsylvania Unfair Trade Practices and Consumer Protection Law
(UTPCPL), ';'3 Pa. CS 201-1 et seq;
Plaintiffs hereby incorporate by reference all preceding paragraphs as if set forth at length
herein.
At all times relevant and material hereto the Plaintiffs were consumers of the Del`endants’
goods and services and as such the conduct of the Defendants and the transaction was
governed by the Pennsylvania Unfair Trade Practices and Consumer Protection Law
(UTPCPL), ?3 Pa. CS 201-l et seq.;
At all times relevant and material hereto the Defendants did violate the Pennsylvania
Unfair Trade Practices and Consumer Protection Law (UTPCPL), 73 Pa. CS 201-1
et seq.; by engaging in deceptive and fraudulent practices, to wit:
a. Failed to properly credit the account of the Plaintil`l` for payments timely
and duly made in accordance with the terms of the debt instrument;
b. Alleging that Plaintiffs were in default andfor otherwise delinquent on his
debt, when at all times any and all alleged delinquency andfor default was

caused by the conduct of the Defendants in failing to properly credit the

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 15 of 19

account of the Plaintiffs for payments timely and duly made in accordance
with the terms of the debt instrument;

C. Misrepresenting and deceiving the Plaintiffs into believing that all errors
in the crediting of payments made would be immediately adjusted and
corrected, yet failing to take the necessary action to do so;

d. lmproperly assessing and charging the Plaintill`s for late fees, interest and
other penalties when at all times the Defendants knew or should and could
have known that such charges were inappropriate in light of payments
timely and duly made in accordance with the terms of the debt instrument;

e. Failing to advise the Plaintiffs via monthly statements containing, among
other things, information on payments currently due and previously made,
fees imposed, transaction activity, application ol` past payments, contact
information for the servicer and housing counselors, and, where
applicable, information regarding correction of contested delinquencies
and charges

f. Failing to establish or make good faith efforts to establish live contact with
the Plaintiffs by the 36th day of his alleged delinquency and promptly
inform the Plaintiff, where appropriate, that loss mitigation options may be
available ln addition, failing to provide the Plaintiffs a Written notice with
information about loss mitigation options by the 45th day of his alleged
delinquency - thereby deceiving the Plaintiffs that their loan was current

and in good standing;

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 16 of 19

g. F ailing to establish or make good faith efforts to establish live contact with
the Plaintiffs by the 36th day of their alleged delinquency and promptly
inform the Plaintiffs, where appropriate, that loss mitigation options may
be available. In addition, failing to provide the Plaintiffs a written notice
with information about loss mitigation options by the 45th day of their
alleged delinquency - thereby deceiving the Plaintiffs that their loan was
current and in good standing;

h. Otherwise violating the "l`ruth in Lending and Real Estate Settlement and
Procedures Acts as hereinbefore set forth;

i. Otherwise violating the Fair Debt Collection Practices Act as hereinbefore
set forth;

23. The actions of the Defendants were performed in direct contradiction to its promises
to provide superior and legal loan scrvicing, but instead were performed for their own
financial self-interests, in detriment to the rights and position of the Plaintiffs

24. As a direct and proximate result of the aforesaid, the Plaintiffs’ loan was wrongfully
alleged to be in default and Defendants have wrongfully threatened foreclosure, all of
which has caused the Plaintiffs severe financial, physical and emotional damage and
loss.

WHEREFORE, the Plaintiffs demands judgment against Defendants for
damages, interests and costs of suit including:
a. Punitive and/‘or treble damages;
b. Damages as permitted by statute;

c. Counsel fccs;

25.

26.

2?.

28.

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 17 of 19

d. All other relief this Court deems necessary andjust.

M

Breach of Contract
Plaintiffs hereby incorporate by reference all preceding paragraphs as if set forth at
length herein.
At all times relevant and material hereto the Defendant did breach the contractual
terms of the loanfnote by engaging in intentional, deceptive and fraudulent practices
as hereinbefore set forth.
At all times relevant and material hereto the Defendants did breach their agreement
and representations to provide affordable Modification designed to cure all past errors
as hereinbefore set forth and allow the Plaintiffs to maintain their home;
At all times relevant and material hereto the Defendants did repetitively breach thc
covenant of good faith and fair dealing by engaging in intentional, deceptive and

fraudulent practices as hereinbefore set forth.

W`HEREFORE, the Plaintiffs demands judgment against Defendants for

damages, interests and costs of suit including:

a. Punitive and!or treble damages;
b. Damages as permitted by statute;
c. Counsel fees;

d. All other relief this Court deems necessary andjust.

29.

30.

31.

32.

33.

34.

35.

36.

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 18 of 19

COUNT SIX

DEFAMAT{ON

Plaintiffs hereby incorporate by reference all preceding allegations as if fully set forth
at length herein.

At all times relevant herein, Defendants have published statements both orally and
through writing to various credit reporting agencies, collection agencies, andfor
attorneys that are false and negative representations concerning Plaintiffs’ credit
information and history.

At a minimum, Defendants have published these statements each time Plaintiffs has
reached out to Defendants and each time other credit reporting agencies reached out
to Defendants and each time a credit reporting agency has reinvestigated any dispute
raised by Plaintif`fs, including but not limited to, the disputes identified herein.

The statements made by Defendants are false, as Plaintiffs never actually defaulted on
any debt that she owed to Defendants

Defendants have published these statements to a number of credit reporting agencies,
including the three major credit bureaus.

Defendants knew, or should have known, that the statements that they made, going
back to 2004 and continuing up to present were false when made and that it had no
factual basis for making the statements that it did, as Plaintiff had notified Defendants
that the statements were false for the aforementioned reasons and, nevertheless,
Defendants continue to publish such statements up to and through the present time.
Thc written statements and publications are libel per se.

The oral statements and publications are slander per se.

Case 2:17-cV-02412-WB Document 1 Filed 05/18/17 Page 19 of 19

37. ln addition, and despite the repeated notices from Plaintiffs, Defendants have acted
with malice by failing to communicate the information provided to it by Plaintiffs to
credit reporting agencies when responding to the reinvestigation attempts of such
credit reporting agencies

38. The conduct of Def`endants, dating back to 2014 and continuing repetitively up to
present, were a direct and proximate cause, as well as a substantial factor, in bringing
about the serious inj uries, damages, and harm to Plaintiffs that are outlined more fully
above and, as a result, Defendants are liable to compensate Plaintiffs for the full
amount of actual, compensatory, and punitive damages, as well as other such relief,

as permitted by law.

WI-IEREFORE, the Plaintiffs demand judgment against Defendants for damages,
interests and costs of suit including:

a. Punitive andf or treble damages;

b. Damages as permitted by statute;

c. Counsel fees;

d. All other relief this Court deems necessary anj just.

 

oated; May 16, 201? /(/
' 4 //
/ 'L_}¢../

Thomas Masciocc `, ESquirc
Keaveney Legal Group

PA Attorney ID# 43 755

1650 Market Strect, Suite 3600
Philadelphia PA 19103

Te|. (800) 219-0931

Attorney for Plaintiff

